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                Exhibit 3
           Case 3:22-cv-02646-LB Document 119-4 Filed 03/21/23 Page 2 of 6


From:            f?atchen Jonathan A
To:              "Kiernan Day id c "; Mehta Sona!: John Pierce; Sanchez Dayrre: Schott!aender Hayden COAL): Holtzblatt Ari :
                 Barnet Emily: Brinster Jeremy W; Stewart Craig E
Cc:              Govemski. Meryl Conant Gottlieb. Michael; Chi. Yuhan Al ice; Roger Roots; Emily Lambert; Shahrzad Haddad
Subject:         RE: Loomer v. Meta et al.: Substitution of Counsel
Date:            Monday, February 13, 2023 9:21:27 PM



!EXTERNAL SENDER!

Twitter & Jack Dorsey also do not consent to an amen d ment.



Jonathan A. Patchen
Willkie Farr & Gallagher LLP
One Front Street I San Francisco, CA 94111
Direct +1 415 858 7594 1 Fax: +1415858 7599
jpatchen@willkie.com I vCard I www.wiHkie.com bio


From: Kiernan, David C. <dkiernan@JonesDay.com>
Sent: Monday, February 13, 2023 5:02 PM
To: Mehta, Sona! <Sonal.Mehta@wilmerhale.com>; John Pierce <jpierce@johnpiercelaw.com>;
Sanchez, Dayme <daymesanchez@jonesday.com>; Schottlaender, Hayden (DAL)
<HSchottlaender@perkinscoie.com>; Holtzblatt, Ari <Ari.Holtzblatt@wilmerhale.com>; Barnet, Emily
<Emily.Barnet@wilmerhale.com>; Brinster, Jeremy W.<Jeremy.Brinster@wilmerhale.com>; Stew art,
Craig E.<cestewart@JonesDay.com>
Cc: Patchen, Jonathan A.<JPatchen@willkie.com>; Governski, Meryl Conant
<MGovernski@willkie.com>; Gottlieb, Michael <MGottlieb@willkie.com>; Chi, Yuhan Alice
<YChi@willkie.com>; Roger Roots <rroots@johnpiercelaw.com>; Emily Lambert
<elambert@johnpiercelaw.com>; Shahrzad Haddad <shaddad@johnpiercelaw.com>
Subject: RE: Loomer v. Meta et al.: Substitution of Counsel


                                      *** EXTERNAL EMAIL ***

On behalf of P&G, we do not consent to an amendment.
David


From: Mehta, Sona! <Sonal.Mehta@wilmerhale .com>
Sent: Monday, February 13, 2023 3:22 PM
To: John Pierce < iRierce@johnRiercelaw.com>; Sanchez, Dayme <d aymesanchez@jonesday.com>;
Schottlaender, Hayden (DAL) <HSchottlaender@Rerkinscoie.com>; Holtzblatt, Ari
<Ari Holtzblatt@wilmerhale com>; Barnet, Emily <Emily Barnet@wilmerhale com>; Brinster, Jeremy
W.<Jeremy.Brinster@wi lmerhale .com>; Kiernan, David C. <dkiernan@JonesDay.com>; Stewart,
Craig E.<cestewa rt@JonesDay.com>
Cc: ji;,atchen@willkie com : m~overnskj@willkie com : m~ottlieb@willkie com : ychj@will kie com:
Roger Roots < rroots@johnR ierce law.com>; Emily Lambert < elambert@johnRi ercelaw .com >;
Shahrzad Haddad <shaddad@johnRierce law.com>
Subject: RE: Loomer v. Meta et al.: Substitution of Counsel
        Case 3:22-cv-02646-LB Document 119-4 Filed 03/21/23 Page 3 of 6



** External mail **

John, on behalf of Meta and Mr. Zuckerberg, we do not consent to another amendment.


From: John Pierce <jgie rce@johngiercelaw .com>
Sent: Monday, February 13, 2023 3:09 PM
To: Sanchez, Dayme <daymesanchez@jonesday com>; Mehta, Sona I
<So nal.Mehta@wi lmerhale .com>; Schottlaender, Hayden (DAL)
<HSchottlaender@gerki nscoie.com>; Holtzblatt, Ari <Ari. Holt zblatt@wilmerha le.com>; Barnet, Emily
<Emily Barnet@wilmerhale com>: Brinster, Jeremy W. <Jeremy Brjnster@wilmerhale com>; Kiernan,
David C. <d kiernan@JonesDay .com>; Stewart, Craig E.<cestewart@JonesDay.com>
Cc: jgatchen@will ki e.com : mgovernski@w ill kie.com; mgottlieb@will kie.com : ych i@will kie.com;
Roger Roots <rroots@johnpjercelaw com>; Emily Lambert < elambert@johnpjercelaw com >;
Shahrzad Haddad <shaddad@ johngierce law.com>
Subject: Re: Loomer v. Meta et al.: Substitution of Counsel


IEXTERNAL SEND ERi
I'll take that as a no. But those who represent Twitter, it w ou Id be nice if you have you r pay maste rs
unblock me. Grow up.


Get Outlook fo r iOS

From: John Pierce
Sent: Saturday, February 11, 2023 5:16:18 PM
To: Sa nchez, Dayme <daymesanchez@jonesday com>; Mehta, Sona I
<Sona l. Mehta@wi lmerhale.com>; Schottlaende r, Hayden (DAL)
<HSchottlaender@gerki nscoie .com>; Holtzblatt, Ari <Ari. Holtzblatt@wilmerha le.com>; Barnet , Emily
<Emily Barnet@wilmerhale com>; Brinster, Jeremy W. <Jeremy Brjnster@wilmerhale com>; Kiernan,
David C. <d kiernan@JonesDay .com>; Stewart, Craig E. <cestewart@JonesDay com>
Cc: jgatchen@will ki e.com < jgatchen@willkie .com>; mgovernski@willkie.com
<mgovernsk j@willkie com>; mgottlieb@willkie com <mgottlieb@wil lkie com>: ycbi@willkie com
<ych j@willkie com >; Roger Roo ts <rroots@johnpjercelaw com>; Emily Lam bert
<elambert@johngiercelaw.com>; Shahrzad Haddad <shaddad@ johngierce law.com>
Subject: RE: Loomer v. M et a et al.: Substitution of Counsel

All-


In light of all the new evid ence that has come out in th e last couple days w ith t he Congress ional
hearing etc., we intend to move for leave to file a Second Amended Complaint.


I am writing to see if you would stipulate/consent t o t hat motio n, since I t hink it is likely it w ill be
granted in light of all th e new evidence.
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Of course, this could obviate the need to finalize and file your replies on the MTD's and vacate the
3/9 hearing.


Regardless, we do intend to file it prior to the 3/9 hearing.


Just seeing if we can save ourselves a bit of work here and be as efficient as possible.


Please let me know,
John


From: Sanchez, Dayme    <daymesapchez@jopesday com>
Sent: Friday, February 10, 2023 12:33 PM
To: John Pierce < jpierce@johnpiercelaw.com>; Mehta, Sonal <Sonal.Mehta@wilmerhale.com>;
Schottlaender, Hayden (DAL) <HSchottiaepder@perkjpscoje com>; Holtzblatt, Ari
<Ari Hoitzblatt@wilmerhale com>; Barnet, Emily <Emily Barnet@wilmerhale com>; Brinster, Jeremy
W.<Jeremy.Brinster@wilmerhale.com>; Kiernan, David C. <dkiernan@JonesDay.com>; Stewart,
Craig E. <cestewart@JooesDay com>
Cc: jpatcheo@willkie com : mgovernskj@willkie com : mgottlieb@willkie com : ychj@willkie com
Subject: RE: Loomer v. Meta et al.: Substitution of Counsel

The Procter & Gamble Company does not oppose Perkins Coie's withdrawal as counsel for
Defendants Twitter, Inc. and Jack Dorsey.


Regards,
Dayme

Dayme Sanchez (bio)
Associate
TONES DAY® - One Firm Worldwide®
1755 Embarcadero Road
Palo Alto, CA 94303
Office+ 1.650.687.4127


From: John Pierce <jpjerce@johppjercelaw com>
Sent: Friday, February 10, 2023 11:04 AM
To: Mehta, Sonal <Sonal.Mehta@wilmerhale.com>; Schottlaender, Hayden (DAL)
<HSchottlaender@perkjnscoje com>; Holtzblatt, Ari <Ari Holtzblatt@wilmerbale com>; Barnet, Emily
<Emily.Barnet@wilmerhale.com>; Brinster, Jeremy W. <Jeremy Brjpster@wilmerhale com>; Kiernan,
David C.<dkiernan@JonesDay .com>; Stewart, Craig E. <cestewart@JonesDay.com>; Sanchez,
Dayme <daymesaochez@jonesday com>
Cc: jpatchen@willkie.com ; mgovernskj@willkie com : mgottlieb@willkie com : ycbi@will kie com
Subject: RE: Loomer v. Meta et al.: Substitution of Counsel


** External mail **
         Case 3:22-cv-02646-LB Document 119-4 Filed 03/21/23 Page 5 of 6


No prob thx. John


From: Mehta, Sonal <Sonal.Mehta@wilmerhale.com>
Sent: Friday, February 10, 2023 12:00 PM
To: Schottlaender, Hayden (DAL) <HSchottlaender@i;:ierkinscoie.com >; John Pierce
< ji;:iierce@johni;:iiercelaw.com>; Holtzblatt, Ari <Ari .Holtzblatt@wilmerhale.com>; Barnet, Emily
<Emily Barnet@wilmerhale com>; Brinster, Jeremy W. <Jeremy Brjnster@wilmerhale com>; Kiernan,
David C. <dkiernan@JonesDay .com>; cestewart@jonesday.com; Sanchez, Dayme
<daymesanchez@jonesday.com>
Cc: jpatchen@willkie com : mgovernski@willkie com : mgottlieb@willkie com : ycbi@will kie com
Subject: RE: Loomer v. Meta et al.: Substitution of Counsel

No objection from Meta or Mr. Zuckerberg.


From: Schottlaender, Hayden (DAL) < HSchottlaender@i;:ierkinscoie.com>
Sent: Friday, February 10, 2023 10:58 AM
To: John Pierce < jpjerce@johnpjercelaw com>; Mehta, Sonal <Sonal Mehta@wilmerhale com>;
Holtzblatt, Ari <Ari .Holtzblatt@wilmerhale.com >; Barnet, Emily < Emi ly.Barnet@wilmerhale.com >;
Brinster, Jeremy W.<Jeremy.Brinster@wilmerhale.com>; Kiernan , Dav id C.
<dkjernan@JonesDay com>; cestewart@jonesday com; Sanchez, Dayme
<daymesanchez@jonesday.com>
Cc: ji;:iatchen@willkie.com ; mgovernski@willkie.com; mgottlieb@willkie.com : ychi@willkie.com
Subject: Loomer v. Meta et al.: Substitution of Counsel


IEXTERNAL SEND ERi


Counsel:


Willkie now represents Twitter Inc. and Jack Dorsey in the Loomer matter. Could each party please
reply to this email and confirm that they do not oppose Perkins Coie withdrawing from rep resenting
Twitter and Dorsey?


Thank you,


Hayden


Hayden Schottlaender I Perkins Coie LLP
COUNSEL
500 N. Akard Street Suite 3300
Dallas, TX 75201
D. +1.214.965.7724
F. +1.214.965.7774
F. HScboUlaeoder@oerkioscoie mm
PeRKINSCOie
           Case 3:22-cv-02646-LB Document 119-4 Filed 03/21/23 Page 6 of 6



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